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Fill in this information to identify the case:

United States Bankruptcy Court for the:
SOUTHERN DISTRICT OF TEXAS

(CJ Check if this is an

Case number (if known): amended filing

 

 

Official Form 201
Voluntary Petition for Non-individuals Filing for Bankruptcy 04/16

Re ee eee c cence eee aD
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and

the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-

Individuals, is available.

1. Debtor's name Axon Rig Concept & Design, LLC

2. All other names debtor used aka Axon Rig Concept & Design, Inc.
in the last 8 years

Include any assumed names,
trade names and doing
business as names

3. Debtor's federal Employer
Identification Number (EIN) 2. 7 - 2 8 3 1 3 9 7

 

4. Debtor's address Principal place of business Mailing address, if different from principal
place of business

 

 

 

 

 

 

 

 

 

 

 

 

 

8909 Jackrabbit Road
Number Street Number Street
P.O, Box
Houston TX 77095
City State ZIP Code City State ZIP Code
Location of principal assets, if different
from principal place of business
County
Number Street
City State ZiP Code
5. Debtor's website (URL)
6. Type of debtor Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

(1 Partnership (excluding LLP)
oO Other. Specify:

 

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Debtor Axon Rig Concept & Design, LLC

7. Describe debtor's business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a
separate list.

Official Form 201

A. Check one:

SOOOO0o00

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Case number (if known)

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

Check all that apply:

Tax-exempt entity (as described in 26 U.S.C. § 501)

15 U.S.C. § 80a-3)

B.
O
oO Investment company, including hedge fund or pooled investment vehicle (as defined in
O

Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

©

NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See

http://www. uscourts.gov/four-digit-national-association-naics-codes

3. 3

Check one:

Chapter 7
oO Chapter 9

=m

a.

| Chapter 11. Check all that apply:

oO Chapter 12

Mv No

Cl Yes. District
District
District

O

O

Ooo

Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
4/01/19 and every 3 years after that).

The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return or if
all of these documents do not exist, follow the procedure in

11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
form.

The debtor is a shell company as defined in the Securities Exchange Act of 1934
Rule 12b-2.

When Case number

 

MM/DD/YYYY

When Case number
MM/DD/YYYY

When Case number

 

MM/DD/YYYY

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10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

11. Why is the case filed in
this district?

 

 

 

 

 

Debtor Axon Rig Concept & Design, LLC Case number (if known)
No
(0 Yes. Debtor Relationship
District When
. MM/0D/YYYY
Case number, if known
Debtor Relationship
District When
MM /DD/YYYY
Case number, if known
Check alf that apply:
Debtor has had its domicile, principal place of business, or principal assets in this district for 180

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

Of

days immediately preceding the date of this petition or for a longer part of such 180 days than in
any other district.

A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
district.

No

Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
needed.
Why does the property need immediate attention? (Check all that apply.)

(O |tposes oris alleged to pose a threat of imminent and identifiable hazard to public health or
safety.
What is the hazard?

 

(]_ 't needs to be physically secured or protected from the weather.

O 't includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
related assets or other options).

Ci Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Cade

Is the property insured?

OO No

1 Yes. Insurance agency

 

Contact name

 

Phone

a Statistical and adminstrative information

Check one:

13. Debtor's estimation of
available funds

Official Form 201

O

Voluntary Petition for Non-Individuals Filing for Bankruptcy

Funds will be available for distribution to unsecured creditors.

After any administrative expenses are paid, no funds will be available for distribution to unsecured
creditors.

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Debtor Axon Rig Concept & Design, LLC

 

14. Estimated number of
creditors

15. Estimated assets

16. Estimated liabilities

1-49
50-99

100-199
200-999

$0-$50,000
$50,001-$100,000
$100,001-$500,000
$500,001-31 million

$0-$50,000
$50,001-3100,000
$100,001-$500,000
$500,001-$1 million

OOOO OOON OOON
ONOSO OOOH OOO

ee Request for Relief, Declaration, and Signatures

1,000-5,000
5,001-10,000
10,001-25,000

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

Case number (if known)

OOOO OOOO O00

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25,001-50,000
§0,001-100,000
More than 100,000

$500,000,001-S1 billion
$1,000,000,001-$10 billion
$10,000,000,001-$50 billion
More than $50 billion

$500,000,001-31 billion
$1,000,000,001-$10 billion
$10,000,000,001-550 billion
More than $50 billion

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative
of debtor

@ The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in

this petition.

@ | have been authorized to file this petition on behalf of the debtor.

@ | have examined the information in this petition and have a reasonable belief that the information is

true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

 

 

 

Jeff Merecka
Printed name

Date “- L#cl4F

 

 

 

 

 

18. Signature of attorney X
Signature oF atforney for debtor MM/DD/YYYY
Timothy A. Million
Printed name
Hughes Watters Askanase
Firm name
Total Plaza
Number Street
1201 Louisiana, 28th Floor
Houston TX 77002
City State ZIP Code

(713) 759-0818
Contact phone

24051055 TX
Bar number State

tmilllon@hwa.com
Email address

 

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WRITTEN CONSENT OF THE SOLE MEMBER AND MANAGERS OF
AXON RIG CONCEPT & DESIGN, LLC

WE THE UNDERSIGNED, being the sole member and managers of Axon Rig Concept
& Design, LLC (the “Company”), hereby consent, pursuant to the terms of the Company’s
formation documents, to the adoption of the following resolutions by written consent in lieu of a
meeting (the “Consent”).

WHEREAS, that as a result of the Company performance the sole member and managers
have determined, pursuant to the terms of the Company’s formation documents, that the
Company must wind up its affairs in an orderly fashion in order to satisfy the claims of its
creditors, to the extent possible;

WHEREAS, the Company has determined in its business judgment, that it is desirable
and in the Company’s best interests, and in the best interests of the Company’s creditors,
members, employees, and other interested parties, that the Company file a chapter 7 petition
seeking relief under title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the
“Bankruptcy Code”), based upon the Company’s financial condition.

NOW THEREFORE, IT IS HEREBY RESOLVED BY THE SOLE MEMBER
AND MANAGERS:

IT IS RESOLVED, that any and all notice to take any action in adopting the following
resolutions is hereby waived by the undersigned pursuant to the title 3 of the Texas Business
Organization Code; it is further

RESOLVED, that the Company has determined in its business judgment that it is
desirable and in the best interests of the Company, and in the best interests of the Company’s
creditors, members, employees, and other interested parties, that the Company file a petition
seeking relief under the provisions of chapter 7 of the Bankruptcy Code (the “Chapter 7 Case”),
based upon the Company’s financial condition; it is further

RESOLVED, that the CEO and Manager, Gary Stratulate (the “Authorized Officer”), and
any employees or agents (including counsel) designated by or directed by the Authorized
Officer, or any one of them, are hereby authorized, empowered and directed, in the name and on
behalf of the Company, to execute, verify, and file all petitions, schedules, motions, lists,
applications, pleadings, and other papers and in that connection, to employ and retain all
assistance by legal counsel, accountants, financial advisors, and other professionals and to
perform any and all further acts and deeds that the Authorized Officer, or any one of them
designated by the Authorized Officer, deem necessary, proper, or desirable in connection with
the Chapter 7 Case; it is further

RESOLVED, that the Authorized Officer, or any one of them designated by the

Authorized Officer, are authorized, empowered, and directed, in the name and on behalf of the
Company, to prepare, execute, deliver, and perform such agreements, documents, and other

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instruments, to pay or cause to be paid on behalf of the Company such related costs and
expenses, to prepare, execute, and deliver or cause to be executed and delivered such other
notices, requests, demands, directions, consents, approvals, orders, applications, certificates,
agreements, undertakings, supplements, amendments, further assurances, or other instruments or
communications under the corporate seal of the Company or otherwise, and to take all such other
action, in the name and on behalf of the Company, as the Authorized Officer, or any one of them
designated by the Authorized Officer, in their, his, or her discretion, shall deem necessary,
desirable, or appropriate to effect and carry out the intent of the resolutions set forth herein and
the transactions contemplated thereby, and the taking of such action and the preparation,
execution, delivery, and performance of any such agreements, documents, and other instruments
or the performance of any such act shall be conclusive evidence of the approval of the Company
and its sole member thereof and all matters relating thereto; it is further

RESOLVED, that the Authorized Officer and any employees or agents (including
counsel) designated by or directed by the Authorized Officer, or any one of them, are hereby
authorized, empowered, and directed, in the name and on behalf of the Company, to cause the
Company to enter into, execute, deliver, certify, file, record, and perform such agreements,
instruments, motions, affidavits, applications for approvals or rulings of governmental or
regulatory authorities, certifications or other documents, and to take all such other action, for and
in the name and on behalf of the Company, as the Authorized Officer, or any one of them
designated by the Authorized Officer, in their, his, or her discretion, shall deem necessary,
desirable, or appropriate to effect and carry out the intent of the resolutions set forth herein and
the transactions contemplated thereby, and the taking of such actions and the preparation,
execution, delivery, and performance of any such agreements, documents, and other instruments
or the performance of any such act shall be conclusive evidence of the approval of the Company,
and its sole member thereof and all matters relating thereto; it is further

RESOLVED, that the engagement of the law firm of Hughes Watters Askanase, L.L.P. as
bankruptcy counsel for the Company, for a fixed fee of $10,000.00 for filing the Chapter 7 Case,
which fee is earned when paid, is hereby ratified, confirmed, adopted, and approved; it is further

RESOLVED, that any and all past actions taken by managers, including those of the
Authorized Officer, of the Company in the name and on behalf of the Company in furtherance of
any or all of the resolutions set forth herein be, and the same hereby are, ratified, confirmed,
adopted, and approved; it is further

RESOLVED, that the Authorized Officer of the Company be, and hereby is, duly
authorized, empowered, and directed, on behalf of the Company, to certify to the passage of the
foregoing resolutions; and it is further

RESOLVED, that the authority given hereunder shall be deemed retroactive and any and
all signatures, endorsements heretofore executed and all other actions (including agreements
made electronically) heretofore for the purposes hereof by the Company or by the Authorized
Officer are hereby adopted, ratified, and confirmed.

(signature pages to follow)

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IN WITNESS WHEREOF, the undersigned sole member of the Company executes this
Consent to be made effective as of the date first set forth above.

MEMBER:

AXON PRESSURE PRODUCTS, INC.

fhauk—

Jeff/Merecka
Its/Chief Financial Officer

 

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IN WITNESS WHEREOF, the undersigned manager of the Company executes this
Consent to be made effective as of the date first set forth above.

AXON RIG CONCEPT & DESIGN, LLC

oe,

“Gary Stratpfate,” 7
Its CEO ahd Manager

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IN WITNESS WHEREOF, the undersigned manager of the Company executes this
Consent to be made effective as of the date first set forth above.

AXON RIG CONCEPT & DESIGN, LLC

 

Jeff ecka,
Its GFO and Manager

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IN WITNESS WHEREOF, the undersigned manager of the Company executes this
Consent to be made effective as of the date first set forth above.

NCEPT & DESIGN, LLC

  

 

Donna(Adame, ie oe

Its President

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IN WITNESS WHEREOF, the undersigned manager of the Company executes this
Consent to be made effective as of the date first set forth above.

AXON RIG CONCEPT & DESIGN, LLC

WAL,

Nicholas Geohegan,
Its Secretary and Manager

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
IN RE: §
§
AXON RIG CONCEPT & DESIGN, LLC § CASE NO. 17-
§
DEBTOR. § (CHAPTER 7)

CORPORATE OWNERSHIP STATEMENT
Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the undersigned authorized officer of Axon Rig Concept & Design, LLC (the “Company”) in the

above-captioned case certifies that Axon Pressure Products, Inc. owns 100% of the equity
interests in the Company.

Dated: S13 2017

AXON RIG CONCEPT & DESIGN, LLC

wv Llu —

Name: 4Jéff Merecka
Title: /Chief Financial Officer

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